          Case 1:21-cr-00670-CJN Document 98 Filed 07/08/22 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                    :
v.                                  :
                                    :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                                WITHDRAWAL OF COUNSEL
Robert J. Costello, declares under penalty of perjury as follows:

   1. I am an attorney and Partner in the firm of Davidoff, Hutcher & Citron, LLP located at 605

Third Avenue, New York, New York. For the past 49 years I have been admitted to the bar of the

State of New York, the Southern and Eastern Districts of New York, the Second and Third Circuit

Courts of Appeals and the United States Supreme Court. I have been counsel to the above listed

Defendant, Stephen K. Bannon on a number of different matters for the past three years. I am

admitted to the bar of this District by way of pro hac vice motion. I have been co-counsel to Mr.

Bannon throughout these proceedings as well as in connection with all interactions with the Select

Committee which preceded the filing of Contempt of Congress misdemeanor charges in this Court.

   2. Due to the fact that I have been the only individual who interacted with the Select

Committee and that Mr. Bannon’s sole basis of information about the facts and the law concerning

this matter came about through communications with me, there has always been the possibility

that I might be called as a witness in this matter.

   3. In light of the possibility that I could become a witness, I examined the ethical opinions of
          Case 1:21-cr-00670-CJN Document 98 Filed 07/08/22 Page 2 of 4




the bar of this Court to determine if I could participate as Mr. Bannon’s co-counsel in the pre-trial

portions of this proceeding. According to a published opinion, I am permitted to participate in the

pre-trial aspects until such time as it becomes apparent that I would be a witness at trial.

   4. The issue currently facing me is that this Court has yet to determine if I will be permitted

to testify if offered as a witness on behalf of Steve Bannon. Indeed, this Court has referred to that

issue as “ a very complicated question.”. ( Transcript, 6/15/2022 at 137,Line 23). If the Court

decides to prevent me from testifying, there will be no pathway to inform the Jury about the

communications with the Select Committee or the three prosecutors in this case, who interfered

with Mr. Bannon’s attorney -client relationship by attempting to turn me into a witness against my

client by surreptitiously subpoenaing my home, office direct line and cellphone records while at

the same time failing in their attempts to obtain my social media information. If that were not

enough, those same prosecutors turned what I believed to be a declination discussion into an FBI

302 interview of me to be used against Mr. Bannon. The fact that these prosecutors failed in their

attempt to gain meaningful evidence against Mr. Bannon should not be their salvation, particularly

since they clearly do not recognize or acknowledge the error of their ways. This Court has yet to

address this conduct and has indicated it will only deal with this after the trial in this matter.

   5. Since it appears there will be a trial, and since it appears that at this point in time I might

be called as a witness, I must reluctantly ask the Court to grant my request to withdrawal as trial

counsel for Defendant, Stephen K. Bannon.




                                  (Signature block on next page)



                                                   2
         Case 1:21-cr-00670-CJN Document 98 Filed 07/08/22 Page 3 of 4




Dated: July 8, 2022                 Respectfully submitted,

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                                       /s/ Robert J. Costello
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                                    Counsel for Defendant Stephen K. Bannon




                                       3
         Case 1:21-cr-00670-CJN Document 98 Filed 07/08/22 Page 4 of 4




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of July 2022, a copy of the foregoing Withdrawal

of Counsel was served via the Court’s CM/ECF system on registered parties and counsel.


                                              /s/ Robert J. Costello
                                           Robert J. Costello (pro hac vice)




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